            Case 2:21-cv-00211-SAB                  ECF No. 16           filed 10/07/21    PageID.161 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT                                                   FILED IN THE
                                                                  for the_                                          U.S. DISTRICT COURT
                                                                                                              EASTERN DISTRICT OF WASHINGTON
                                                     Eastern District of Washington
               LYLE FLOYD, a single person,                                                                    Oct 07, 2021
                       Plaintiff,                                                                                  SEAN F. MCAVOY, CLERK
                                                                     )
                             Plaintiff                               )
                                v.                                   )        Civil Action No. 2:21-cv-00211-SAB
CITY OF GRAND COULEE; GRAND COULEE POLICE CHIEF                      )
J.D. TUFTS; SERGEANT GARY W. MOORE; OFFICER JOSEPH
                                                                     )
HIGGS; OFFICER ADAM FLORENZEN; 1-10 JOHN and JANE
DOES,
                      Defendant

                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: Defendants’ Motion to Dismiss (ECF No. 10) is GRANTED.
’
              Plaintiff’s Complaint is dismissed with prejudice.
              Judgment is entered in favor of Defendants and against Plaintiff.



This action was (check one):
’ tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

’ tried by Judge                                                                          without a jury and the above decision
was reached.

✔
’ decided by Judge             STANLEY A. BASTIAN                                               on a Motion to
      Dismiss (ECF No. 10)


Date: 10/07/2021                                                             CLERK OF COURT

                                                                             SEAN F. McAVOY

                                                                             s/ Allison Yates
                                                                                          (By) Deputy Clerk

                                                                             Allison Yates
